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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

 MOHAMMED WAQQAD,
                                                 Case No.: 1:20-cv-10056
                       Plaintiff,

           -against-

 TRINE ACQUISITION CORP., LEO
 HINDERY, JR., M. IAN G. GILCHRIST,
 JOSEPHINE LINDEN, MARC
 NATHANSON, KENT R. SANDER, TOM
 WASSERMAN, and ABBAS F. ZUAITER,

                       Defendants.



                             NOTICE OF VOLUNTARY DISMISSAL

       Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff voluntarily dismisses his claims in the above-captioned action against

Defendants as moot. This notice of dismissal is being filed with the Court before service by

Defendants of either an answer or a motion for summary judgment.



Dated: December 10, 2020                    Respectfully submitted,

                                            MONTEVERDE & ASSOCIATES PC

                                            /s/Juan E. Monteverde______________________
SO ORDERED.                                 Juan E. Monteverde (JM-8169)
                                            The Empire State Building
                                            350 Fifth Avenue, Suite 4405
                                            New York, New York 10118
                                            Tel: 212-971-1341
___________________
                                            Fax: 212-202-7880
Hon. Ronnie Abrams
12/14/2020
                                            Attorney for Plaintiff
